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Fill in this information to identify your case:

Debtor 1           Jeffrey               Michael                Speicher
                  __________________________________________________________________
                    First Name                Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name              Last Name


United States Bankruptcy Court for the: District of Colorado
                                        __________     District of __________

Case number          19-13850 MER
                    ___________________________________________                                                                            Check if this is an
 (If known)                                                                                                                                   amended filing



    108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                Surrender the property.                           No
          name:            PHH Mortgage Corporation
                                                                                    Retain the property and redeem it.                Yes
         Description of          222 Basin Creek Cir
         property                                                                   Retain the property and enter into a
         securing debt:          Durango, CO 81301                                    Reaffirmation Agreement.

                                                                                    Retain the property and [explain]: await
                                                                                   Trustee's decision regarding disposition

         Creditor’s                                                                 Surrender the property.                           No
         name:             PHH Mortgage Corporation
                                                                                    Retain the property and redeem it.                Yes
         Description of
                                 1210 E 28th Ave #6                                 Retain the property and enter into a
         property
         securing debt:          Denver, CO 80205-4407                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:             Alpine Bank
                                                                                    Retain the property and redeem it.                Yes
         Description of
                                 222 Basin Creek Cir                                Retain the property and enter into a
         property
         securing debt:          Durango, CO 81301                                    Reaffirmation Agreement.

                                                                                    Retain the property and [explain]: await
                                                                                   Trustee's decision regarding disposition
         Creditor’s                                                                 Surrender the property.                           No
         name:             Alpine Bank
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property
                                 1210 E 28th Ave #6                                 Retain the property and enter into a
         securing debt:          Denver, CO 80205-4407                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________


  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
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 Debtor 1           Jeffrey                Michael                Speicher
                    ______________________________________________________                                                  19-13850 MER
                                                                                                     Case number (If known)_____________________________________
                    First Name          Middle Name     Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                     Will the lease be assumed?

       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
       Description of leased                                                                                                 Yes
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                        No
                                                                                                                             Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



   s/Jeffrey Michael Speicher
       ___________________________________________                     ___________________________________________
       Signature of Debtor 1                                             Signature of Debtor 2

             10/09/2019
       Date _________________                                            Date _________________
             MM /     DD     /   YYYY                                         MM /   DD /   YYYY




                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 2
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 Debtor 1: Jeffrey Michael Speicher                                               Case number: 19-13850 MER


  Identify the creditor and the property   What do you intend to do with the property    Did you claim the property
  that is collateral                       that secures a debt?                          as exempt on Schedule C?


  Creditor’s Name: BBVA Compass Bank        Surrender the property.                     X No
                                            Retain the property and redeem it.           Yes
  Description of Property Securing Debt:    Retain the property and enter into a
  2016 Mini Cooper Clubman
                                           Reaffirmation Agreement.
                                           X Retain the property and [explain]: __
                                           Enter into payment arrangements

                                           ____________________________________
  Creditor’s Name: Wells Fargo Auto         Surrender the property.                     X No
  Description of Property Securing Debt:    Retain the property and redeem it.           Yes
  2018 Ford Pickup Raptor                   Retain the property and enter into a
                                           Reaffirmation Agreement.
                                           X Retain the property and [explain]: ___
                                           Enter into payment arrangements
                                           _
  Creditor’s Name: JPMorgan Chase           Surrender the property.                     X No
  Bank NA
                                            Retain the property and redeem it.           Yes
  Description of Property Securing Debt:
                                            Retain the property and enter into a
  2015 Mercedes-Benz Sprinter              Reaffirmation Agreement.
                                           X Retain the property and [explain]: _
                                           Enter into payment arrangements

  Creditor’s Name: Harley Davidson          Surrender the property.                     X No
  Credit Corp
                                            Retain the property and redeem it.           Yes
  Description of Property Securing Debt:    Retain the property and enter into a
  2018 Harley Davidson Road Glide
                                           Reaffirmation Agreement.
                                           X Retain the property and [explain]:
                                           Enter into payment arrangements

  Creditor’s Name: US Bank NA              X Surrender the property.                      No
  Description of Property Securing Debt:    Retain the property and redeem it.          X Yes
  2018 Maserati Levante                     Retain the property and enter into a
                                           Reaffirmation Agreement.
                                            Retain the property and [explain]:
                                           __________
                                           ___________________________________
